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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: FEDLOAN STUDENT LOAN                      Case No. 18-md-02833
 SERVICING LITIGATION
                                                  HON. NITZA I. QUIÑONES ALEJANDRO




                                      NOTICE OF APPEAL

        Notice is hereby given that Plaintiffs, on behalf of themselves and all others similarly

situated, hereby appeal to the United States Court of Appeals for the Third Circuit from the Court’s

February 18, 2025 Memorandum Opinion (ECF No. 121) and the Court’s February 18, 2025 Order

(ECF No. 122) granting Defendants’ Motions to Dismiss (ECF Nos. 55 & 61) for lack of subject-

matter jurisdiction.

Dated: March 20, 2025
                              Respectfully submitted,

LOWEY DANNENBERG, P.C.                             LYNCH CARPENTER LLP

 /s/ Laura K. Mummert                               /s/ Gary F. Lynch
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Proposed Class                                     Proposed Class
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                                 CERTIFICATE OF SERVICE

       I, Laura K. Mummert, hereby certify that on March 20, 2025, I filed and served through

the Court’s ECF system a true and correct copy of the foregoing document. Those attorneys who

are registered with the Court’s electronic filing system may access these filings through the Court’s

system, and notice of these filings will be sent to these parties by operation of this Court’s

electronic filing system.

                                                      /s/ Laura K. Mummert
                                                      Laura K. Mummert
